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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

JULIA M. ROBINSON and                        )
KENDALL J. HALL,                             )
                                             )
      Plaintiffs,                            )     Civil Action No.:
                                             )     1:23-CV-05655-MHC
v.                                           )
                                             )
THE UNITED STATES                            )
OF AMERICA, et al.,                          )
                                             )
      Defendants.                            )

       DEFENDANTS ENTERPRISE RENT-A-CAR INC.’S AND
ENTERPRISE HOLDINGS INC.’S OBJECTION TO AUTHENTICITY OF
   ELECTRONICALLY FILED DOCUMENTS AND SIGNATURES

     Pursuant to Appendix H of the Court’s Civil Local Rules, Defendants

Enterprise Rent-A-Car, Inc. (“Enterprise”) and Enterprise Holdings, Inc.

(“Enterprise Holdings”) -- appearing solely for purposes of this Objection -- hereby

object to the following documents that were electronically filed by Plaintiffs and

that purport to include the signature of a representative of Enterprise and/or

Enterprise Holdings agreeing to waive service of the Summons and Complaint in

this action:

          Waiver of the Service of Summons (Enterprise/Enterprise Holdings)
           [Doc. 8, Page 29 of 37], filed on February 28, 2024, and entered on the
           docket on March 1, 2024;
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               Waiver of the Service of Summons (Enterprise/Enterprise Holdings)
                [Doc. 8, Page 30 of 37], filed on February 28, 2024, and entered on the
                docket on March 1, 2024;

               Waiver of the Service of Summons (Enterprise Holdings) [Doc. 9-6],
                filed on February 29, 2024, and entered on the docket on March 4,
                2024; and

               Waiver of the Service of Summons (Enterprise) [Doc. 9-7], filed on
                February 29, 2024, and entered on the docket on March 4, 2024.

 The foregoing documents are hereafter collectively referred to as the “Documents.”

         In support of this Objection, Enterprise and Enterprise Holdings further state

 as follows:

         1.        Pursuant to Sections II.C.1.b and II.C.3.c of Exhibit A to Appendix H

of the Court’s Civil Local Rules, Enterprise and Enterprise Holdings dispute and

object to the authenticity of the Documents and the signatures on the Documents.

         2.        None of the Documents was signed by a representative of Enterprise or

Enterprise Holdings, and the signature on each of the Documents is not that of a

representative of Enterprise or Enterprise Holdings. Indeed, the signature on all of

the Documents -- as well as the alleged Waiver of the Service of the Summons for

each of the other defendants in this action -- is virtually identical and appears to be

the signature of one of the Plaintiffs. Neither Enterprise nor Enterprise Holdings

authorized Plaintiffs or anyone else to sign the Documents on its behalf or consented

to having the Documents signed on its behalf.




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         3.        Neither Enterprise nor Enterprise Holdings has even received a valid

Notice of a Lawsuit and Request to Waive Service of Summons that complies with

the requirements of Rule 4(d)(1) of the Federal Rules of Civil Procedure, and neither

Enterprise nor Enterprise Holdings has agreed to execute or actually executed a

Waiver of the Service of Summons related to this civil action.

         4.        In short, the Documents filed by Plaintiffs indicating that Enterprise and

Enterprise Holdings waived service of the Summons and Complaint in this action are

false, as is any representation or suggestion that a representative of Enterprise or

Enterprise Holdings signed any of the Documents.

         5.        Moreover, neither Enterprise nor Enterprise Holdings has been served

with process in this action or properly made a party to this action, and the fact that

Enterprise and Enterprise Holdings are aware of this action is not a substitute for

proper service. See Albra v. Advan, 490 F.3d 826, 829 (11th Cir. 2007) (“A

defendant’s actual notice [of a lawsuit] is not sufficient to cure defectively executed

service.”); Kuykendall v. Trop, Inc., No. 1:17-CV-462-WSD, 2017 WL 5193287, at

*3 (N.D. Ga. Nov. 9, 2017) (service of process that does not comply with the Federal

Rules of Civil Procedure is ineffective, “even when a defendant has actual notice of

the filing of the suit”).

         6.        Because neither Enterprise or Enterprise Holdings has yet been served

with process or entered an appearance, neither Enterprise nor Enterprise Holdings


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received a Notice of Electronic Filing for any of the Documents. Nevertheless, this

Objection is timely filed within ten days of the date on which Enterprise and

Enterprise Holdings first became aware of the Documents.

         7.        Enterprise and Enterprise Holdings make a limited appearance in this

case solely to preserve and assert this Objection within the time required by the

Court’s Civil Local Rules. In an abundance of caution, Enterprise and Enterprise

Holdings further deny that they have been properly and sufficiently served with

process in this action, that the Court has personal jurisdiction over them, or that the

Complaint states a claim upon which relief can be granted. Enterprise and Enterprise

Holdings expressly reserve, and do not waive, each of those defenses and all other

defenses, rights, and remedies available to them under the Federal Rules of Civil

Procedure or applicable law in the event Plaintiffs serve or attempt to serve Enterprise

or Enterprise Holdings with the Summons and Complaint in this action.

         Respectfully submitted this 13th day of March, 2024.

                                                  /s/ Jeffrey R. Baxter
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                                             Attorneys for Enterprise Rent-A-Car,
                                             Inc. and Enterprise Holdings, Inc.




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                       RULE 7.1(D) CERTIFICATE

     The undersigned counsel certifies that this document has been prepared with

Times New Roman 14-point font in accordance with Local Rule 5.1.C.

     Respectfully submitted this 13th day of March, 2024.

                                         /s/ Jeffrey R. Baxter
                                         Jeffrey R. Baxter
                                         Georgia Bar No. 142356
                                         jbaxter@bakerlaw.com
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                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing DEFENDANTS

ENTERPRISE RENT-A-CAR INC.’S AND ENTERPRISE HOLDINGS

INC.’S OBJECTION TO AUTHENTICITY OF ELECTRONICALLY FILED

DOCUMENTS AND SIGNATURES with the Clerk of Court using the CM/ECF

system, which will automatically send email notification of such filing to all

registered participants and counsel of record.

      A copy of this filing has also been mailed to Plaintiffs at the following address

by United States Mail:

             Julia M. Robinson
             Kendall J. Hall
             2451 Cumberland Parkway SE
             Suite 3320
             Atlanta, GA 30339

      This 13th day of March, 2024.

                                           /s/ Jeffrey R. Baxter
                                           Jeffrey R. Baxter
